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                            Exhibit 12
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2719 ‐ Susman Godfrey, LLP
1 ‐ US Ex Rel v Boston Scientific, et als
Expenses

         Expense
  Date Code              Amount Description
02/17/16 E101               9.80 Copying
02/17/16 E101               1.00 Copying
02/17/16 E101               0.50 Copying
02/17/16 E101               0.30 Copying
02/17/16 E101               0.10 Copying
02/17/16 E101               0.20 Copying
02/17/16 E101               0.40 Copying
02/17/16 E101               0.30 Copying
02/17/16 E101               0.60 Copying
02/17/16 E101               0.10 Copying
02/17/16 E101               0.60 Copying
02/17/16 E101               0.20 Copying
02/17/16 E101               0.70 Copying
02/17/16 E101               0.60 Copying
02/25/16 E101               0.20 Copying
02/25/16 E101               0.30 Copying
02/25/16 E101               0.20 Copying
02/25/16 E101               0.20 Copying
03/02/16 E101               0.80 Copying
03/02/16 E101               0.20 Copying
03/07/16 E101               0.60 Copying
03/07/16 E101               0.30 Copying
03/07/16 E101               0.70 Copying
03/07/16 E101               0.50 Copying
03/07/16 E101               0.20 Copying
03/07/16 E101               0.50 Copying
03/17/16 E101               1.20 Copying
06/17/16 E101               5.60 Copying
06/17/16 E101               0.40 Copying
06/21/16 E101               0.20 Copying
06/21/16 E101               0.20 Copying
07/18/16 E101               0.10 Copying
07/18/16 E101               2.00 Copying
07/18/16 E101               0.20 Copying
07/18/16 E101               0.20 Copying
07/18/16 E101               0.20 Copying
07/18/16 E101               1.10 Copying
07/18/16 E101               0.40 Copying
07/18/16 E101               0.30 Copying
07/18/16 E101               0.40 Copying
07/18/16 E101               0.60 Copying
07/18/16 E101               0.70 Copying
03/17/17 E101              10.30 Copying
03/17/17 E101               0.20 Copying
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04/30/18 E101         120.80 Copying
04/30/18 E101          15.10 Copying
                             MERCURY MAIL & MESSENGER SERVICE, INC; Delivery Services/Messengers CK#
02/29/16 E107          39.60 80342 GWM (2/17/16 delivery to USDC, 50 Walnut St., Newark, NJ)
                             MERCURY MAIL & MESSENGER SERVICE, INC; Delivery Services/Messengers CK#
05/13/16 E107          39.60 81140 (4/20/16 delivery to Judge Mannion at 50 Walnut St., Newark, NJ)
07/25/16 E124          11.99 CONFERSAVE WORLDWIDE; Other ck# 81812 GWM (7/8/16 conference call)
                             GRANT W. MCGUIRE; Other CK# 91604 (Parking in connection with 3/25/19 travel to
04/04/19 E124          17.00 USDC ‐ Newark for motion hearing)
     Total Expenses   288.49
